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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                   Plaintiff,
                                           Case No. 15-20652-4
 vs.
                                           HON. GEORGE CARAM STEEH
 D-4 COREY BAILEY,

               Defendant.
 _____________________________/

     ORDER GRANTING DEFENDANT’S MOTION FOR ATTORNEY
  CONDUCTED VOIR DIRE AND DENYING MOTION FOR DEFENDANTS
    THEMSELVES TO HAVE ACCESS TO JURY QUESTIONNAIRES
      AND FOR SUPPLEMENTAL QUESTIONNAIRES [DOC. 779]

       This matter is before the court on defendant Corey Bailey’s motion for

 attorney conducted voir dire, access to jury questionnaires by the

 defendants themselves and for supplemental questionnaires. The motion

 was joined in by defendants Billy Arnold [doc. 780], Quincy Graham [doc.

 785] and Jerome Gooch [doc. 786]. Based on the reasoning given in the

 court’s order granting the government’s motion to empanel a semi-

 anonymous jury, the court grants in part and denies in part defendant’s

 motion. Now, therefore,

       IT IS HEREBY ORDERED that the attorneys will be permitted to

 conduct voir dire in this case.
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       IT IS HEREBY FURTHER ORDERED that the defendants

 themselves are not granted access to the juror questionnaires.

       IT IS HEREBY FURTHER ORDERED that neither party will be

 permitted to supplement the already-approved juror questionnaire that is to

 be filled out by the pool of prospective jurors.

       IT IS SO ORDERED.

 Dated: December 21, 2017
                                           s/George Caram Steeh
                                           GEORGE CARAM STEEH
                                           UNITED STATES DISTRICT JUDGE

                                  CERTIFICATE OF SERVICE

                   Copies of this Order were served upon attorneys of record on
                     December 21, 2017, by electronic and/or ordinary mail.

                                      s/Marcia Beauchemin
                                          Deputy Clerk




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